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    BODELL CONSTRUCTION COMPANY, a Utah corporation

                    IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF HAWAII

   ST. PAUL FIRE AND MARINE                  )     CIVIL NO. 20-cv-00288 DKW-WRP
   INSURANCE COMPANY, a                      )
   Connecticut corporation; THE              )     DEFENDANT BODELL
   TRAVELERS INDEMNITY                       )     CONSTRUCTION COMPANY’S
   COMPANY OF AMERICA, a                     )     SEPARATE CONCISE
   Connecticut corporation; THE              )     STATEMENT OF FACTS IN
   PHOENIX INSURANCE COMPANY,                )     SUPPORT OF CROSS-MOTION
   a Connecticut corporation; and            )     FOR PARTIAL SUMMARY
   TRAVELERS PROPERTY                        )     JUDGMENT RE DUTY TO
   CASUALTY COMPANY OF                       )     DEFEND AND MEMORANDUM
   AMERICA, a Connecticut corporation,       )     IN OPPOSITION TO
                                             )     PLAINTIFFS’ MOTION FOR
                 Plaintiffs,                 )     PARTIAL SUMMARY
                                             )     JUDGMENT AGAINST
           vs.                               )     DEFENDANTS BODELL
                                             )
   BODELL CONSTRUCTION                       )     [Caption Continued on Next Page]


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   COMPANY, a Utah corporation;         )   CONSTRUCTION COMPANY,
   SUNSTONE REALTY PARTNERS X,          )   SUNSTONE REALTY PARTNERS
   LLC, a Hawai’i limited liability     )   X LLC AND STEADFAST
   company; and STEADFAST               )   INSURANCE COMPANY ON
   INSURANCE COMPANY, a Delaware        )   COUNTS I AND II OF
   corporation,                         )   PLAINTIFFS’ COMPLAINT
                                        )   FILED ON JUNE 25, 2020 (ECF
               Defendants.              )   NO. 1) RE NO DUTY TO DEFEND
   _________________________________ )      OR TO INDEMNIFY [DKT. 95];
                                        )   DECLARATION OF MIKE
                                        )   BODELL; DECLARATION OF
   BODELL CONSTRUCTION
                                        )   TRED R. EYERLY; EXHIBITS
   COMPANY, a Utah corporation,
                                        )   “A”- “H”; REQUEST FOR
                                        )   JUDICIAL NOTICE;
               Counterclaimant,         )   CERTIFICATE OF SERVICE
                                        )
                                        )
        vs.                             )
                                        )
                                        )
   ST. PAUL FIRE AND MARINE             )
   INSURANCE COMPANY, a                 )
   Connecticut corporation; THE         )
   TRAVELERS INDEMNITY                  )
   COMPANY OF AMERICA, a                )
   Connecticut corporation; THE         )
   PHOENIX INSURANCE COMPANY, )
   a Connection corporation; and        )
   TRAVELERS PROPERTY                   )
   CASUALTY COMPANY OF                  )   HEARING
   AMERICA, a Connecticut corporation, )    Date: April 15, 2022
                                        )   Time: 10:00 a.m.
                                        )   Judge: Honorable Derrick K. Watson
               Counterclaim Defendants.
                                        )
   ________________________________ )       TRIAL DATE: September 12, 2022




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                    DEFENDANT BODELL CONSTRUCTION COMPANY’S
                       SEPARATE CONCISE STATEMENT OF FACTS

                 Disputed facts in Plaintiffs’ Separate Concise Statement of Facts, Dkt. 96:

Fact Dispute               Explanation and Evidence

3                          The Insurers fail to list four additional commercial liability policies issued to
                           Bodell by Phoenix Insurance Company: 5) CO-0618C07A-PHX-12 effective
                           9/30/12 to 9/30/13; 6) CO-0618C07A-PHX-13 effective 9/30/13 to 9/30/14; 7)
                           CO-0618C07A-PHX-14 effective 9/30/14 to 9/30/15; 8) CO-0618C07A-PHX-
                           15 effective 9/30/15 to 9/30/16.
4                          The Insurers fail to list three additional excess liability policies issued to
                           Bodell by Travelers Property Casualty Company of America: 8) CUP-
                           0618C07A-TIL-12 effective 9/30/12 to 9/30/13; 9) CUP-0618C07A-TIL-13
                           effective 9/30/13 to 9/30/14; 10) CUP-0618C07A-TIL-14 effective 9/30/14 to
                           9/30/15.

                 Bodell’s Separate Concise Statement in Support of its Cross-Motion follows:

Undisputed Material Fact                                                 Evidentiary Support

1. In 2003, Bodell was hired by developer Sunstone Realty                Travelers’ Ex. 25 at ¶10
   Partners X LLC (“Sunstone”) as the general contractor to
   perform construction work in connection with the
   condominium project, Ali`i Cove Project (the “Project”).
2. Approximately ten years after completion of the Project, the          Travelers’ Ex. 22
   Association of Apartment Owners of Ali`i Cove
   (“Association”) and its members sued Sunstone in the
   underlying case.
3. The Association filed a First Amended Complaint against               3-a Travelers’ Ex. 23 at ¶¶13-
   Sunstone on February 8, 2016 (“Association’s FAC”) alleging           14
   that Sunstone developed, built, and sold condominium units
   using embedded straps instead of bolting the house frames to          3-b Travelers’ Ex. 23 at ¶¶17,
   their foundation. (3-a). The Association alleged that the             18, 22, 26
   embedded straps were defective, damaged the homes,
   rendered the units unsafe due to the threat of hurricanes, and        3-c Travelers’ Ex. 23 at ¶¶ 23,
   caused corrosion which spreads to the concrete foundations            24
   causing them to crack. (3-b) In addition, the embedded straps
   allegedly did not meet building code requirements. (3-c).             3-d Travelers’ Ex. 23 at ¶ 48


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   Sunstone breached its duty of care by “using Embedded Straps         3-e Travelers’ Ex. 23 at
   rather [sic] building code required anchor bolts . . .” (3-d). The   Prayer, ¶ 1
   Association demanded that the embedded straps be replaced
   and all resulting cracked foundations and other defects be
   repaired. (3-e)
4. Sunstone filed a Third-Party Complaint against Bodell,               4-a Travelers’ Ex. 25 at ¶¶ 15,
   Becerra Concrete Construction (“Becerra”), and others, which         20
   incorporated all of the allegations of the Association’s FAC.
   (4-a). Further, Bodell oversaw the construction of the Project,      4-b Travelers Ex. 25 at ¶ 13
   installed, and/or specified and/or approved the use of certain
   load bearing embedded hurricane straps . . . used in all units       4-c Travelers Ex. 25 at ¶ 18
   of the Project. (4-b). Sunstone alleged, “That Third-Party
   Defendants approved the method and/or installed the                  4-d Travelers’ Ex. 25, Prayer at
   embedded straps, which Plaintiffs now claim are the direct and       C
   proximate cause of extensive corrosion on the embedded
   straps and have rendered the units at Alii Cove unsafe . . .” (4-
   c). Sunstone further alleged it was entitled to indemnity,
   contribution, and reimbursement from Bodell if Sunstone was
   found liable in the Association’s action. (4-d)
5. Becerra was the subcontractor responsible for the concrete and       Travelers’ Ex. 25 at ¶ 15
   masonry work, including work associated with setting the
   embedded straps.
6. The Association filed a Second Amended Complaint on                  6-a Travelers’ Ex. 24 at ¶ 28
   March 21, 2017, alleging numerous additional defects which
   were not specifically identified, but were referenced as those       6-b Travelers’ Separate
   included in the Association’s expert’s Preliminary Letter of         Concise Statement of Facts
   Findings (“Posard Preliminary Findings”). (6-a). The Posard          (“TSF”) 9
   Preliminary Findings identified numerous “construction
   deficiencies,” including site conditions, structural issues,
   building envelope, roofing, general architecture, mechanical,
   plumbing, and electrical. (6-b)
7. Bodell was insured under numerous primary and excess                 7-a TSF 1-4
   policies issued by the Insurers and others. (7-a) The St. Paul
   policies were effective for the 9/30/03 to 9/30/04 and 9/30/04       7-b TSF 1
   to 9/30/05 policy periods. (7-b)
8. In March 2016, Bodell tendered the underlying case to all the        8-a TSF 14-15; Ex. F attached
   Insurers. (8-a) Two of the Insurers, Travelers Indemnity             to Declaration of Mike Bodell
   Company of America and The Phoenix Insurance Company,                (“Bodell Decl.”)
   agreed to defend Bodell under a reservation of rights, but           8-b Ex. F at 1 attached to
   rights were not reserved, however, under the St. Paul primary        Bodell Decl.
                                                    2
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   policies nor any of the excess policies issued to Bodell by the
   Insurers. (8-b)
9. The underlying case was stayed pending the outcome of two Complaint [Dkt.1] at
   arbitrations.                                                   (“Complaint”) ¶ 28, attached as
                                                                   Ex. A to Declaration of Tred R.
                                                                   Eyerly (“Eyerly Decl.”)
10.The Association arbitrated its claims with Sunstone and a Complaint at ¶ 32, attached as
   settlement was reached between the Association and Sunstone Ex. A to Eyerly Decl.
   during the arbitration.
11.The second arbitration involved Sunstone’s claims against       11-a Complaint at ¶ 27,
   Bodell. (11-a). An Arbitration Decision and Award was           attached as Ex. A to Eyerly
   issued on June 18, 2021. (11-b). The arbitrator relied on the   Decl.
   Trinity Subrogation Response (“Trinity Response”), dated        11-b Arbitration Decision and
   May 13, 2020, as a framework for identifying the various        Award, attached as Ex. B to
   items of alleged defects but did not differentiate between      Request for Judicial Notice
   work done by subcontractors versus work performed by
   Bodell (11-c).                                                  11-c Ex B at ¶¶ 3.9, 3.13
12.The Trinity Response addressed items identified by the          Ex. C , attached to Request for
   Posard Preliminary Findings and by Porter Construction, and Judicial Notice
   included 281 items of alleged defects.
13.Relying on the Trinity Response, the Arbitration Award listed Ex. B to Request for Judicial
   numerous defects for which Bodell was responsible or partly Notice at ¶¶ 3.13, 3.17
   responsible.
14.The identified defects ranged from such things as Item 141 14-a Ex. C at Items 141, 259,
   (“flashing and weather resistive barrier deficiencies exist at attached to Eyerly Decl.
   the window installations resulting in unintended water passing
   beyond, around, or through the window or its designed or 14-b Ex. C at Item 77, attached
   actual moisture barrier. . .” requiring removal of materials to to Eyerly Decl.
   reach the framing and sheathing) to Item 259
   (“[w]aterproofing deficiencies exist at the tile clad shower 14-c Ex. C at Item 77, attached
   assemblies” causing “water leakage from the shower to Eyerly Decl.
   assemblies appearing at the living room floor on the opposite
   side of the shower area,” requiring removal of materials to
   install new shower pan). (14-a). Item 77 involves leaking
   behind the siding and trim of the weather-resistive barrier,
   allowing unintended water-intrusion. (14-b).The remedy
   requires removal of the fiber cement cladding and the
   windows to rectify the defective flashings. (14-c).
15.Some of alleged defects involved subcontractor work.            Bodell Decl. at ¶ 6

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16.The Insurers’ expert, Randall Gamache, was instructed to           16-a Ex. D at 4, attached to
   “render [his] opinion as to the cause, if any, of Resultant        Eyerly Decl.
   Damages, secondary damage that occurred as a result of some
   other primary damage listed in the Alleged Defects, that may       16-b Ex. D at 9, attached to
   or may not have occurred due [sic] the alleged defective work      Eyerly Decl.
   as described in the Complaints and Documents . . .” (16-a).
   His report states, “[Gamache Construction Services, LLC] has       16-c Ex. D at 10-12, attached
   noted some areas where Resultant Damage has occurred . . .         to Eyerly Decl.
   and some areas where Potential Resultant Damage . . . may
   have occurred due [sic] but cannot 100% prove to have caused       16-d Ex. D at 12, attached to
   damage.” (16-b). The Report goes on to list numerous areas         Eyerly Decl.
   where Resultant Damage or Potential Resultant Damage
   occurred, including Items 77 (incorporated into Item 141), 141     16-e Ex. D at 4-5, attached to
   and 259. (16-c). The Report concludes, “Total Allowance for        Eyerly Decl.
   Resultant Damages and Potential Resultant Damages:
   $687,965.71.” (16-d). Among the documents reviewed by Mr.
   Gamache is Bodell’s Confidential Mediation Statement. (16-
   e)
17.The Insurers informed Bodell that their expert “Randy              17-a Ex. E at 1, attached to
   Gamache opines that the cost to repair items causing               Eyerly Decl.
   potentially resultant damage that were not otherwise
   withdrawn at the arbitration, is $687,965.71.” (17-a).             17-b Ex. E at 1-2, attached to
   Therefore, Travelers planned to pay Sunstone $727,346.48,          Eyerly Decl.
   the amount it contributed to the settlement with the AOAO
   plus post-judgment interest. (17-b).
18.The Insurers’ reservation of rights letter sets forth Exclusion    18-a Ex. F at 8, attached to
   k, “Damage to Your Product.” It reads, “‘Property damage’          Eyerly Decl.
   to ‘your product’ arising out of it or any part of it.”(18-a).
   The letter then explains:                                          18-b Ex. F at 8, attached to
                                                                      Eyerly Decl.
   This portion of the policies are [sic] relevant because
   the policies only covers [sic] consequential “property             18-c Ex. F at 6, attached to
   damage” resulting or arising from “your product”                   Eyerly Decl.
   resulting or arising from “your product”. We will not
   pay for poor workmanship or warranty of “your                      18-d Ex. F at Ex. 8, attached to
   product [sic].”                                                    Eyerly Decl.

(18-b). The letter further quotes the policies’ definition of “your
product” as “[a]ny goods or products, other than real property,


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manufactured, sold, handled, distributed or disposed by . . . you
. . .” (18-c).

  The “Damage to Your Work” exclusion in the Insurers’
policies states the exclusion “does not apply if the damaged work
or the work out of which the damage arises was performed on
your behalf by a subcontractor.” (18-d).
19.The Insurers’ amended definition of “occurrence” reads as      Ex. G, excerpts from Plaintiffs’
   follows:                                                       policies DT-CO-0618C07A-
                                                                  PHX-13 (9/30/13 to 9/30/14);
   “Occurrence” means:                                            DT-CO-0618C07A-PHX-14
                                                                  (9/30/14 to 9/30/15); DT-CO-
   An accident, including continuous or repeated exposure to      0618C07A-PHX-15 (9/30/15 to
   substantially the same general harmful conditions; or          9/30/16).

   An act or omission, including all related acts or omissions,
   that causes “subcontracted work property damage.”

   The following is added to the Definitions Section:

   “Subcontracted work property damage” means “property
   damage” that:

   Is neither expected nor intended from the standpoint of the
   insured; and

   Is to “your work” arising out of it or any part of it and
   included in the “products-completed operations hazard” if
   the damaged work or the work out of which the damage
   arises was performed on your behalf by a subcontractor.
20.The Posard Preliminary Findings suggested the                    Ex. H at 70 of 70, listing cost
   recommended repairs at the Project would cost $24,085,762.       estimate at $24,085,762 (Ex. A
                                                                    to Report), attached to Eyerly
                                                                    Decl.
21.The excess policies provide a duty to defend when damages        E.g,, Travelers’ Ex. 16 at
   are not payable under any underlying insurance because           TR002298
   limits have been exhausted by the payment of claims.

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             DATED: Honolulu, Hawai’i, March 24, 2022.

                              DAMON KEY LEONG KUPCHAK HASTERT

                              /s/ Tred R. Eyerly
                              TRED R. EYERLY
                              CASEY T. MIYASHIRO

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                                BODELL CONSTRUCTION COMPANY




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